Dear Mr. Gould:
You ask this office to advise whether a newly-elected councilman for St. Tammany Parish may continue to serve as member of the St. Tammany Parish Gravity Drainage District No. 5 Board of Commissioners. We conclude the law does not prohibit the arrangement.
R.S. 42:63(D) prohibits one from holding elective office and full-time appointive office in a political subdivision of the state; it does not prohibit one from holding a part-time appointive office, such as the position with the drainage board. See R.S. 42:63(D), R.S. 42:62(4)(5), and (9).1 We also note that R.S. 38:1607(A)(2) states "the holding of the position of drainage commissioner shall not be considered as dual officeholding."2
Our conclusion is predicated on the assumption that the St. Tammany Parish Home Rule Charter does not contain a provision preventing the concurrent holding of these offices.
Very truly yours,
                             RICHARD P. IEYOUB ATTORNEY GENERAL
                             BY:  _____________________________________ KERRY L. KILPATRICK ASSISTANT ATTORNEY GENERAL
KLK:ams
1 R.S. 42:63(D) states:
D. No person holding an elective office in a political subdivision of this state shall at the same time hold another elective office or full-time appointive office in the government of this state or in the government of a political subdivision thereof. No such person shall hold at the same time employment in the government of this state, or in the same political subdivision in which he holds an elective office. In addition no sheriff, assessor, or clerk of court shall hold any office or employment under a parish governing authority or school board, nor shall any member of any parish governing authority or school board hold any office or employment with any sheriff, assessor, or clerk of court.
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R.S. 42:62(4)(5) and (9) provide:
(4) "Full-time" means the period of time which a person normally works or is expected to work in an appointive office or employment and which is at least seven hours per day of work and at least thirty-five hours per week of work.
(5) "Part-time" means the period of time which a person normally works or is expected to work in an appointive office or employment which is less than the number of hours of work defined in this Section as full time.
(9) "Political subdivision" means a parish, and any other unit of local government, including a school board and a special district, authorized by law to perform governmental functions. In addition for the purposes of this Part., mayor's courts, justice of the peace courts, district attorneys, sheriffs, clerks of court, coroners, tax assessors, registrars of voters, and all other elected parochial officials shall be separate political subdivisions.
2 R.S. 38:1607 states:
§ 1607. Board of Commissioners; qualifications; compensation and expenses
(1) All drainage districts shall be governed and controlled by five commissioners to be known as a board of commissioners. However, the Lafourche Parish Drainage District No. 1 and the Wax Lake East Drainage District shall be governed and controlled by a board of seven commissioners.
(2) These commissioners, or their respective spouses, must each be the record owner of real estate in the district of an assessed value of five hundred dollars, or they must be the representative of some corporation owning lands in the district of an assessed value of five hundred dollars. The representative of a corporation who may be an officer thereof may be designated to represent the corporation by resolution of the board of directors to that effect. Persons possessing the qualifications may be drainage commissioners, whether they be residents or nonresidents. A drainage commissioner may hold the position of drainage commissioner in one or more drainage districts and may hold the position in addition to any other office that may be held by him. The holding of the position of drainage commissioner, shall not be considered as dual office holding.
(3) No commissioner shall receive compensation for his services in excess of sixty-five dollars per day including all actual expenses, while attending to the business of the district.
B. The board of commissioners of each drainage district in this state shall, by a two-thirds vote of the members of the board after public hearing, which has been advertised in the official journal of the drainage district on at least two separate occasions within a period of fifteen days preceding the meeting at which the vote is taken, provide for the method and amount of compensation, and mileage to and from the meeting place, to be paid to the members of such board. However, in no event shall the compensation paid exceed the limit provided in Subsection A above.